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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DlVISION

 

UNITED STATES OF AMERICA,
Plaintift`,

Civ. No. 04-1196-T/An
VS. Crim. No. 03-10058-01-T
MARCUS TYRONE WILLIAMS,

Defendant.

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ORDER DENYING MOTION TO PROCEED ]N FOR]\M PA UPERIS AS MOOT
ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Del"endant Marcus Tyrone Williarns, Bureau of Prisons inmate registration number
187 l 5-076, an inmate at the F ederal Correctional lnstitution in Memphis, Tennessee, filed
apro se motion pursuant to 28 U.S.C. § 2255 on August l9, 2004 along With a motion to
proceed in forma pauperis There is no filing fee in § 2255 cases and no need for
appointment of counsel in this case; therefore, the motion to proceed in forma pauperis is
DENIED as moot.

On July 21, 2003, a federal grand jury returned a three-count indictment against
Williams and a codefendant, Anthony Jones. The first count charged both defendants, aided

and abetted by each other, With armed bank robbery in connection With the robbery of the

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with Ru|e 55 and!or 32{b) FRCrP on

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People’s Bank of Commerce in Trenton, Tennessee on April 25, 2003, in violation of 18
U.S.C. § 2113(a) & (d). The second count charged Williams with using, carrying, and
brandishing a firearm during and in relation to the Apri125, 2003 bank robbery, in violation
0f18 U.S.C. § 924(0). The third count charged Jones with aviolation of 18 U.S.C. § 924(0)
in connection with the bank robbery.

On December 19, 2003, pursuant to a written plea agreement, Williams entered a plea
of guilty to the first count of the indictmentl The plea agreement contained the following
provision:

The defendant is aware that Title 18 United States Code, section 3742 affords
him the right to appeal the sentence imposed in this case. Acknowledging
this, in exchange for the undertakings made by the United States in this plea
agreement, the defendant hereby waives all rights conferred by Section 3742
to appeal any sentence imposed, including any restitution order, or to appeal
the manner in which the sentence was imposed, unless the sentence exceeds
the maximum permitted by statute or is the result of an upward departure from
the guidelines that the court establishes at sentencing The defendant further
understands that nothing in this agreement shall affect the government’s right
and/or duty to appeal as set forth in Title 18, United States Code, Section
3742(b). However, if the United States appeals the defendant’s sentence
pursuant to Section 3742(b), the defendant shall be released from the above
waiver of appellate rights. By signing this agreement, the defendant
acknowledges that he has discussed the appeal waiver set forth in this
agreement With his/her attorney. The defendant further agrees, together with
the United States, to request that the district court enter a specific finding that
the defendant’s Waiver ofhis right to appeal the sentence to be imposed in this
case was knowing and voluntary

Plea Agreement, 11 5. The Court issued an order accepting the guilty plea on December 23,
2003. The Court conducted a sentencing hearing on April l, 2004, at which time Williams

was sentenced to 114 months imprisonment, to be followed by a three-year period of

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supervised release.l The Court also imposed restitution in the amount of $3,3 l 8 jointly and
severally with the codefendant Judgment was entered on April 6, 2004. Williams did not
take a direct appeal
Williams has now filed a § 2255 motion in which he raises the following issues:
l. His guilty plea was not intelligent and voluntary because he was not
aware that, under the sentencing guidelines, he could receive a weapon
enhancement and his juvenile convictions would be considered in
calculating his criminal history score;
2. The consideration of his juvenile conviction in his criminal history
score constituted a violation of the protection against double jeopardy;
and
3. He was denied the right to take a direct appeal.
For the sake of clarity, the Court will first address the third issue.
ln his third claim for relief, Williams asserts that he was denied the right to take a
direct appeal. As previously noted, § supra p. 2, the plea agreement contained an appeal
waiver provision. In his motion, Williams acknowledged the existence of the provision, but
states that it was “inhumane” for his attorney to agree to it.

The Sixth Circuit generally enforces appeal waiver provisions, see, e.g., United States

v. Fleming, 239 F.3d 761, 763-64 (6th Cir. 2001), and plea provisions waiving the right to

 

l Pursuant to § 2B3.1(a) of the United States Sentencing Guideiines (“U.S.S.G.”), the base offense level
for robbery is 20. Williams received a two-point enhancement, pursuant to U.S.S.G. § 2B3. l (b)(l), because the
property of a financial institution was taken. l~le received a five-level increase, pursuant to U.S.S.G. § 2B3.l(b)
(2)(C), because a firearm was brandished, and a one-leave increase, pursuant to U.S.S.G. § 2B3.l(b)(7)(B), because
the intended loss exceeded 810,000. Because Williams falsely denied having a weapon at the change of plea
hearing, he was not awarded any reduction for acceptance ofresponsibility, resulting in a total offense level of 28.
ln light of his criminal history category oflll, the guidelines called for a sentencing range from 97-121 months.

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file a § 2255 motion, Davila v. United States, 258 F.3d 448 (6th Cir. 2001); Watson v.
United States, 165 F.3d 486, 488-89 (6th Cir. 1999). However, in order to dismiss the
defendant’s motion on this basis, the Court must be satisfied that his waiver of his rights was

intelligent and voluntary. See, e.g., Watson, 165 F.3d at 489 (determining, on the basis of

 

the change of plea hearing, that “Watson knowingly, intelligently, and voluntarily waived
his right to collaterally attack the plea”); see also United States v. Murdock, 398 F.3d 491,
496-99 (6th Cir. 2005) (district court’s failure to advise defendant of Rule ll waiver
provision in plea agreement was plain error that precluded dismissal of appeal).

At the change of plea hearing, the Court advised Williams ofthe existence ofthe
appeal waiver provision and ensured that he understood what it meant:

THE COURT: Now, there’s another reference in here to giving
up your right to appeal your sentence in this case. Now, you have the right to
appeal any sentence that the court imposes unless you give up that right. In
paragraph 5 of this agreement, it provides that you waive your right to appeal
this sentence unless the court exceeds the statutory maximum. If l give you
more time than the statute allows, you can appeal that. Or if I depart from the
guideline range and give you more time than the guidelines suggest, then you
can appeal that sentence Other than that though, you can’t appeal the
sentence in this case.

Now, there’s one exception. lf the government appeals the defendant’s
sentence, then you’re released from this waiver, and then you’ ll have the right
to appeal on any issues you want to appeal.

Do you understand, Mr. Williams, that you’re giving up your right to
appeal this sentence unless the court gives you more time than the statute
allows, more time than the guidelines suggest, or if the government appeals
Then in those events, you can appeal. Otherwise, there won’t be any appeal.
Do you understand that?

DEFENDANT WILLIAMS: Yes. Excuse me for a second. l
need to talk to my lawyer.

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THE COURT: Yes, sir.
(Discussion off the record between the defendant and Ms. Smothers)
DEFENDANT WILLIAMS: l do, Your Honor.

THE COURT: All right, sir.

THE COURT: Well, it appears that each defendant knowingly
understands his ri ghts. He understands his right to appeal, and he knowingly
waives that right with the exceptions just noted.

(12/19/03 Tr. at l2-l 4.) The record indicates that Williams’s waiver of his appellate rights
was knowing and voluntary, Myil_a, 258 F.3d at 451-52; mg 239 F.3d at 762-63, and
Williams has not come forward with any persuasive argument why that waiver should not
be given effect.

Accordingly, the defendant’s third issue is without merit and does not entitle him to
relief.

In his first claim for relief, Williams asserts that his conviction was obtained by a plea
of guilty that was unlawfully induced or which was not intelligent and voluntary. Although
the defendant’s explanation ofthis issue is not very clear, he seems to contend that he did
not realize, at the time he entered into his guilty plea, that he would be subject to a weapon
enhancement or that his criminal record would be considered in calculating his criminal

history score.

As a preliminary matter, Williams’s presentation of this issue does not comply with

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Ruie 2(b) of the Rules Governing § 2255 Proceedings, which requires, inter alia, that the
motion “shall specify all the grounds for relief which are available to the movant and of
which he has or, by the exercise of reasonable diligence, shall have knowledge and shall set
forth in summary form the facts supporting each of the grounds thus specified.”2 Although
the Sixth Circuit has not had occasion to address the pleading standards applicable to § 2255
motions, the Second Circuit has stated as follows:

To warrant plenary presentation of evidence, the application must contain

assertions of fact that a petitioner is in a position to establish by competent

evidence. . . . Whether there is a genuine issue of material fact depends upon

the sufficiency of those factual allegations Airy generalities, conclusory

assertions and hearsay statements will not suffice because none of these would

be admissible evidence at a hearing
United States v. Aiello, 814 F.2d 109, 113-14 (2d Cir. 1987) (citations omitted); accord
Taylor v. United States, 287 F.3d 658, 661 (7th Cir. 2002) (noting that, while notice
pleading is the standard in ordinary civil litigation, “Rule 2(b) departs from Rule 8 [of the
Federal Rules of Civil Procedure] by requiring some fact pleading”). Although Williams
is apparently unhappy with the manner in which his sentence was calculated, he does not
state that he was unaware of the application of the sentencing guidelines to his case and he
does not explain his failure to file a motion to withdraw his guilty plea once he received the
presentence report.

Williams did not file a motion to withdraw his guilty plea at any time prior to the

entry of judgmentl l\/loreover, Williams did not challenge the intelligence of his plea on

 

2 The quotation is from the version ofthe Rule in effect when the § 2255 motion was filed.

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direct appeal,3 and a § 2255 motion is not a substitute for a direct appeal. Sunal v. Lange,
332 U.S. 174, 178 (1947). Generally, “the voluntariness and intelligence ofa guilty plea can
be attacked on collateral review only if first challenged on direct review.” Bousley v. United
W, 523 U.S. 614, 621 (1988). Because Williams did not raise this issue on direct appeal,
even though he had all the information he now asserts in support of this motion, he has
procedurally defaulted this claim. l_d.; see also El-l\lobani v. United States, 287 F.3d 417,
420 (6th Cir. 2002).

Althuugh there are two exceptions to the procedural default ruie, neither is applicable
here. A defendant can overcome a procedural default if he demonstrates cause and prejudice
sufficient to excuse his failure to raise these issues previously, My, 523 U.S. at 622, or
he establishes that a constitutional error “‘has probably resulted in the conviction of one who
is actually innocent.”’ I_d. at 623 (quoting Murray v, Carrier, 477 U.S. 478, 496 (1986)). In
this case, Williams cannot demonstrate good cause for his failure to raise this issue on direct
appeal, because he knew, as soon as the presentence report was issued, the sentence he was
likely subject to and the means by which it was calculatedl Moreover, Williams has
presented no argument that he is actually innocent of the offense to which he entered a guilty

plea.4

 

3 Because this issue concerns the guilty plea, rather than the sentence imposed, the appeal waiver
provision in the plea agreement would appear to be inapplicable
4 At the change of plea hearing, Williams admitted his guilt on the bank robbery charge, but he insisted
that he was unarmed. After some discussion, Williams admitted that he possessed a razor that bank employees may
have believed to be a firearm. (12/19/03 Tr. at 20-26_) The presentence report indicates that the bank employees
would have testified that Williams had a “short” or a “sawed-oft” shotgun. In addition, Bobby Wright, a driver for

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Finally, on a substantive level, Williams’s position simply makes no sense. At the
change of plea hearing, Williams acknowledged that the statutory maximum penalty for the
bank robbery charge was 25 years. (12/19/03 Tr. at 16.) The sentence he received was
considerably less than the statutory maximum If Williams went to trial and was convicted,
he would have been sentenced in accordance with the sentencing guidelines, which included
consideration of his criminal history. In addition, in light of the statements of the witnesses
and the admission of his codefendant, Williams faced a substantial risk of conviction on the
§ 924(c) count, which would have subjected him to a five-year mandatory sentence
consecutive to the sentence imposed on the bank robbery charge By pleading guilty, even
with the weapon enhancement, Williams received a less severe sentence than he could have
received had he gone to trial and been convicted on both counts.5 Moreover, even if

Williams went to trial and was convicted on the bank robbery charge and acquitted on the

 

the Coca-Cola Company, observed Williams leaving the bank with a sawed-off shotgun. The police officers who
arrested the defendants did not recover a weapon. However, Jones, the codefendant, told investigating officers that
Williams was arrned. Williams gave a statement in which he said that the shotgun was a toy with black tape
wrapped around it to make it appear real. The presentence report took the position that “there is overwhelming
evidence in support of the position that Mr. Williams did in fact possess and brandish either a shotgun, or an object
which was purposely intended to resemble a shotgun, during the instant offense,” and, by falsely denying the same,
Williams was not entitled to a reduction for acceptance of responsibility Prior to the sentencing hearing, Williams,
through counsel, filed a position paper in which he argued that he was entitled to the reduction for acceptance of
responsibility because, at the time of his arrest, he freely admitted using an object that was altered to look like a gun.
ln his § 2255 motion, Williams objects to the firearm enhancement but does not address his previous admissions
that, at the least, he used an object that was intended to look like a real gun. Williams’s vague and conclusory
statement is insufficient to permit a conclusion that he is arguing that he is actually innocent of the weapon
enhancement

5 lf Williams were convicted after trial, the total offense level would be 23, §§ supra pp. 2-3 n.2, and,

given his criminal history category of Ill, the guidelines call for a sentencing range of 70-87 months. The
mandatory 60-month sentence for violating § 924(c) would then run consecutive to the sentence for the bank
robbery, for a possible total sentence of 130-147 monthsl

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weapon charge, he could still receive a firearm enhancement (albeit a slight less significant
enhancement) based on his use of an object that was intended to look like a firearm.6 Under
these circumstances, Williams has failed to present any plausible argument that, if only he
knew the manner in which his sentence would be calculated, he would not have entered a
guilty plea.

For these reasons, Williams is not entitled to relief on his first claim.

Finally, Williams contends, in his second claim for relief, that consideration of his
juvenile conviction in his criminal history score constituted a violation of the constitutional
protection against double jeopardy. This issue falls squarely within the appeal waiver
provision and, therefore, could not have been raised on direct appeal. However, because
this is the type of claim that normally must be raised on direct appeal, relief is not available
through a § 2255 motion. Grant v. United States, 72 F.3d 503, 505 (6th Cir. 1996); Lalso_
United States v. Lankford, Nos. 99-5870, 99-6075, 2000 WL 1175592, at *l (6th Cir. Aug.
9, 2000) (“‘Technicai violations of the federal sentencing guidelines will not warrant
[§ 2255] relief.”); United States v. Norfleet, No. 98-131 1, 1999 WL 1281718, at *5 (6th Cir.
Dec. 28, 1999) (“Normally, Norfleet could not obtain collateral review of sentencing

guidelines errors.”)', Hunter v. United States, 160 F.3d 1109, 1114 (6th Cir. 1998) (“Relief

 

6 As previously noted, Williams received a live-point enhancement because a firearm was brandished or
possessed U.S.S.G. § 2B3.l(b)(2)(C). Williams would be subject to a three-point enhancement for brandishing or
possessing a dangerous weapon if the evidence showed that the gun was not rea|. w § § 2B3.1(b)(2)(l':`.); see also
g § 1B1.1 application note l(D) (“dangerous weapon” includes use of an object in a manner that created the
impression that the object was a dangerous weapon).

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is not available in a section 2255 proceeding for a claim of nonconstitutional,
sentencing-guideline error when that error was procedurally defaulted through the failure
to bring a direct appeal.”). Williams is not entitled to circumvent the appeal waiver
provision by bringing claims that should have been raised on direct appeal in a § 2255
motion.

Moreover, the law is clear that enhancement of criminal history points for past
convictions does not constitute double jeopardy because it enhances punishment for the
present crime, not for past crimes. Witte v. United States, 515 U.S. 389 (1995); _Unite_d
States v. Taylor, 60 Fed. Appx. 566, 568 (6th Cir. Mar. 13, 2003); United States v. Gardner,
23 Fed. Appx. 482, 483 (6th Cir. Nov. 30, 2001).

Thus, defendant also is not entitled to relief on his second claim.

The motion, together with the files and record in this case “conclusively show that

the prisoner is entitled to no relief.” 28 U.S.C. § 2255; see also Rule 4(b), Rules Governing

 

§ 2255 Proceedings. Therefore, the Court finds that a response is not required from the
United States Attorney and that the motion may be resolved without an evidentiary hearing.
United States v. .lohnson, 327 U.S. 106, 111 (1946); Baker v. United States, 781 F.2d 85,
92 (6th Cir. 1986). Defendant’s conviction and sentence are valid; therefore, his motion
under § 2255 is DENIED.

Consideration must also be given to issues that may occur if the defendant files a

notice of appeal. Twenty-eight U.S.C. § 2253(a) requires the district court to evaluate the

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appealability of its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial showing of the denial
ofa constitutional right.” 28 U.S.C. § 2253(c)(2); see also Fed. R. App. P. 22(b); Lyons v.
Ohio Adult Parole Auth.. 105 F.3d 1063, 1073 (6th Cir. 1997) (districtjudges may issue
certificates of appealability under the AEDPA). No § 2255 movant may appeal without this
certificate

ln Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the Supreme Court stated that
§ 2253 is a codification ofthe standard announced in Barefoot v. Estelle, 463 U.S. 880, 893
(1983), which requires a showing that “reasonable jurists could debate whether (or, for that
matter, agree that) the petition should have been resolved in a different manner or that the
issues presented were “‘adequate to deserve encouragement to proceed further. ”’ Slack, 529
U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue limitations on the issuance of
certificates of appealability:

[O]ur opinion in Slack held that a COA does not require a showing that the

appeal will succeed. Accordingly, a court of appeals should not decline the

application of a COA merely because it believes the applicant will not

demonstrate an entitlement to relief. The holding in Slack would mean very

little if appellate review were denied because the prisoner did not convince a

judge, or, for that matter, three judges, that he or she would prevail. lt is

consistent with § 2253 that a COA will issue in some instances where there

is no certainty of ultimate relief. After all, when a COA is sought, the whole

premise is that the prisoner “‘has already failed in that endeavor.”’

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463 U.S. at 893). Thus,

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[a] prisoner seeking a COA must prove ““ something more than the absence of

frivolity”’ or the existence of mere “good faith” on his or her part. . . . We do

not require petitioners to prove, before the issuance of a COA, that some

jurists would grant the petition for habeas corpus. lndeed, a claim can be

debatable even though every jurist of reason might agree, after the COA has

been granted and the case has received full consideration, that petitioner will

not prevail.
Li at 338 (quoting Barefoot, 463 U.S. at 893); see also Ld. at 342 (cautioning courts against
conflating their analysis of the merits with the decision of whether to issue a COA: “The
question is the debatability of the underlying constitutional claim, not the resolution of that
debate.”).?

ln this case, the defendant’s claim is clearly without merit for the reasons set forth
previously and, therefore, he cannot present a question of some substance about which
reasonablejurists could differ. The Court therefore DENIES a certificate of appealability

The Sixth Circuit has held that the Prison Litigation Reform Act of 1995, 28 U.S.C.
§ 1915(a)-(b), does not apply to appeals of orders denying § 2255 motions. Kincade v.
Sparkman, 117 F.3d 949, 951 (6th Cir. 1997). Rather, to appeal in forma pauperis in a
§ 2255 case, and thereby avoid the 8255 appellate filing fee required by 28 U.S.C. §§ 1913
and 1917, the defendant must obtain pauper status pursuant to Federal Rule of Appellate

Procedure 24(a). Kincade, 1 17 F.3d at 952. Rule 24(a) provides that a party seeking pauper

status on appeal must first file a motion in the district court, along with a supporting

 

? By the same token, the Supreme Court also emphasized that “[o]ur holding should not be misconstrued

as directing that a COA always must issue.” 537 U.S. at 337. Instead, the COA requirement implements a system
of “differential treatment of those appeals deserving of attention from those that plainly do not.” l_d.

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affidavit Fed. R. App. P. 24(a)(1). However, Rule 24(a) also provides that if the district
court certifies that an appeal would not be taken in good faith, or otherwise denies leave to
appeal in forma pauperis, the defendant must file his motion to proceed in forma pauperis
in the appellate court. w Fed. R. App. P. 24(a) (4)-(5).

ln this case, for the same reasons the Court denies a certificate of appealability, the
Court determines that any appeal would not be taken in good faith. lt is therefore
CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any appeal in this matter is not taken
in good faith, and leave to appeal in forma pauperis is DENIED. Accordingly, if the
defendant files a notice of appeal, he must also pay the full 8255 appellate filing fee or file
a motion to proceed in forma pauperis and supporting affidavit in the Sixth Circuit Court
of Appeals within thirty (30) days.

iris so oRDERED this g /day ar August, 2005.

Ctt/wm D. M&

JAM s'D.'rth)
uNIT D sTATEs Drsrthr JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01196 was distributed by fax, mail, or direct printing on
August 10, 2005 to the parties listed.

 

Marcus Tyrone Williams
18715-076

P.O. Box 34550
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Honorable .l ames Todd
US DISTRICT COURT

